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                IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                      Plaintiff/Respondent,

          Vs.                                   Civil Case No. 06-3018-SAC
                                                Criminal Case No. 00-40024-04-SAC

JIMMY D. MAULDIN,

                      Defendant/Movant.


                            MEMORANDUM AND ORDER

                The case comes before the court on the defendant’s motion to vacate,

set aside or correct his sentence pursuant to 28 U.S.C. § 2255. (Dk. 2000). In

August of 2000, the defendant pleaded guilty to conspiracy to manufacture and

distribute in excess of one kilogram of methamphetamine in violation of 21 U.S.C.

§ 846. The Presentence Report calculated a sentencing range of 292 to 365

months (total offense level of 29 and criminal history category of two) under the

United States Guidelines. The court imposed a sentence of 146 months, and the

judgment was filed August 9, 2002. The defendant never appealed his conviction

or sentence. The current motion is the defendant’s first attempt at post-conviction

relief.

                Trumpeting United States v. Booker, 543 U.S. 220, 125 S. Ct. 738
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(2005), the defendant argues his sentence of 146 months is unconstitutional as

based upon judicial findings concerning the quantity of drugs, a firearm

enhancement, and obstruction of justice. The defendant contends the Booker

holding extends to his § 2255 motion, because Booker merely applies the

constitutional principles settled in Apprendi v. New Jersey, 530 U.S. 466 (2000).

             As amended by the Antiterrorism and Effective Death Penalty Act

("AEDPA"), 28 U.S.C. § 2255 includes a one-year limitations period for federal

prisoners to file § 2255 motions. 1 United States v. Hurst, 322 F.3d 1256, 1259

(10th Cir. 2003). As in this case, when a defendant does not pursue a timely appeal

to the court of appeals, the conviction and sentence become final and the one-year

limitations period begins running upon the expiration of the time for filing the

appeal. See United States v. Burch, 202 F.3d 1274, 1278-79 (10th Cir. 2000). For

purposes of this case, the defendant’s time for filing a notice of appeal expired




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       The relevant portions of § 2255[¶ 6] state:
             “A 1-year period of limitation shall apply to a motion under this
      section. The limitation period shall run from the latest of--
             (1) the date on which the judgment of conviction becomes final;
             ....
             (3) the date on which the right asserted was initially recognized by the
             Supreme Court, if that right has been newly recognized by the
             Supreme Court and made retroactively applicable to cases on
             collateral review: . . . .”

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August 19, 2002, ten days after entry of judgment. See Fed. R. App. P.

4(b)(1)(A)(i) (stating that “[i]n a criminal case, a defendant's notice of appeal must

be filed in the district court within 10 days . . . of . . . the entry of either the

judgment or the order being appealed”); (Dk. 1615, Judgment entered August 9,

2002). The one-year limitations period for filing the defendant’s § 2255 petition

began to run on August 20, 2002, the day after the time for filing his appeal expired.

See United States v. Hurst, 322 F.3d at 1259-60. The one-year filing period

expired “on the anniversary date of the triggering event,” August 20, 2003. Id. at

1261. Mauldin filed his § 2255 motion than two years after the governing limitations

period expired. Mauldin’s petition does not allege nor suggest any circumstances

that would warrant the application of equitable tolling in this case. See Gibson v.

Klinger, 232 F.3d 799, 808 (10th Cir. 2000) (equitable tolling of statute permitted in

only rare and exceptional circumstances).

              In his petition, Mauldin repeatedly alleges his claims “could not have

been raised earlier,” but the only event mentioned in his petition that occurred

subsequent to his conviction or time for filing an appeal was the Supreme Court’s

decision in Booker. Mauldin bases each ground of his § 2255 petition on the Sixth

Amendment ruling in Booker. The court presumes that Mauldin considers his




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limitation period to have restarted2 with the Supreme Court’s decision in Booker.

The wording of § 2255 (¶ 6)(3), however, does not accommodate Mauldin’s

position, unless the Supreme Court newly recognized a right in Booker and made

that right retroactively applicable to cases on collateral review. The Tenth Circuit

has held that Booker does not apply retroactively to cases on collateral review, and

the Supreme Court has not ruled otherwise. United States v. Bellamy, 411 F.3d

1182, 1184, 1186-88 (10th Cir. 2005) (“Booker does not apply retroactively to

criminal cases that became final before its effective date of January 12, 2005.”)

Because Mauldin’s one-year limitations period for his § 2255 motion expired on

August 20, 2003, his motion is barred as untimely under AEDPA.

             IT IS THEREFORE ORDERED that defendant's motion pursuant to

28 U.S.C. § 2255 is denied as untimely.

             Dated this 1st day of February, 2006, Topeka, Kansas.



                                  s/ Sam A. Crow
                                  Sam A. Crow, U.S. District Senior Judge




      2
      Mauldin’s petition also refers to Apprendi. The Supreme Court issued
Apprendi on June 26, 2000, over two years before Mauldin was sentenced. Thus,
Apprendi cannot be the basis for restarting the statute of limitations.

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